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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                 Plaintiff,             )
                                        )
           v.                           )         S1-4:07 CR 175 JCH
                                        )                        DDN
MICHAEL SHANAHAN, SR.,                  )
MICHAEL SHANAHAN, JR., and              )
GARY C. GERHARDT,                       )
                                        )
                 Defendants.            )

                             MEMORANDUM AND ORDER
     This action is before the court upon the joint pretrial motions of
the defendants for the early return of subpoenas (Doc. 108) and for
leave to serve Rule 17 (c) subpoenas (Doc. 141).           The subpoenas seek
documents from three entities: (1) PricewaterhouseCoopers (PwC), the
outside auditors of Engineered Support Systems, Inc. (ESSI); (2) DRS
Technologies,   Inc.    (DRS),    the   company    that   acquired   ESSI;    and
(3) Thompson Coburn LLP (Thompson Coburn), a law firm that performed
legal work for ESSI.       After the hearing on these matters, the parties
were able to reach an agreement on a number of the provisions within the
desired subpoenas.      Only a few provisions of the subpoenas remain in
dispute.   (Doc. 142 at 2; Doc. 149 at 1.)
     The   defendants      are   charged    by   superseding   indictment    with
conducting, while corporate officers of ESSI, a scheme, between 1996 and
August 2006, to defraud by backdating options to purchase stock in ESSI,
and with causing ESSI to make false statements in public filings with
the Securities and Exchange Commission to the effect that the subject
stock options were "in the money" or "at the money." 1          Defendants have
pled not guilty to the charges.
     Defendants state that the government has provided them with some
50,000 documents, some of which were obtained from ESSI, PwC, DRS, and


     1
      The superseding indictment alleges that "in the money" or "at the
money" refers to the price, at which the option would be exercised,
equal to the company's market price on the day the options were granted
or authorized. (Doc. 51 at ¶¶ 7, 10.)
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Thompson Coburn.        They also state that they have made an initial
determination that the materials provided by the government do not
include the documents they seek by the subpoenas and that the government
has indicated that it does not have the subject documents.
        The government does not object to an early return of the subpoenas,
but objects to some of the documents sought by defendants.


Rule 17(c) Standard
        Rule 17(c) of the Federal Rules of Criminal Procedure provides that
a    “subpoena   may   order   the   witness    to   produce   any    books,   papers,
documents, data, or other objects the subpoena designates.                 The court
may direct the witness to produce the designated items in court before
trial or before they are to be offered in evidence.”                 Fed. R. Crim. P.
17(c)(1).     The scope of Rule 17(c) is more narrow than the corresponding
rules of civil procedure, which permit broad discovery.                United States
v. Reyes, 239 F.R.D. 591, 597 (N.D. Cal. 2006).                Rule 17(c) was not
intended to serve as a discovery device for criminal cases.                     United
States v. Nixon, 418 U.S. 683, 698 (1974).             Instead, Rule 17(c) seeks
to expedite a trial by providing a time and place before trial for the
inspection of subpoenaed materials.         Id. at 698-99.     In complex criminal
cases, the Supreme Court has noted the utility of using Rule 17(c).
See id. at 699 n.11.           To gain access to the desired documents, the
moving party must show that the subpoenaed documents are: (1) relevant;
(2) admissible; and (3) requested with adequate specificity.                   Id. at
700; United States v. Hardy , 224 F.3d 752, 755 (8th Cir. 2000).
        A request will usually be sufficiently specific where it limits
documents to a reasonable period of time and states with reasonable
precision the subjects to which the documents relate.                United States v.
RW Prof’l Leasing Servs. Corp., 228 F.R.D. 158, 162 (E.D.N.Y. 2005).
“If the moving party cannot reasonably specify the information contained
or believed to be contained in the documents sought but merely hopes
that something useful will turn up, this is a sure sign that the
subpoena is being misused.”           United States v. Noriega, 764 F. Supp.
1480, 1493 (S.D. Fla. 1991).         The specificity and relevance requirements
demand more than the title of a document and conjecture concerning its


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contents.     Hardy, 224 F.3d at 755.           The specificity requirement ensures
that a Rule 17(c) subpoena will not be used just to see “what may turn
up.”    United States v. Libby , 432 F. Supp. 2d 26, 32 (D.D.C. 2006).
       Even    when   the    moving    party    has     shown   that    a subpoena seeks
relevant, admissible, and specific evidence, a court must still consider
other factors, including whether: (1) the materials could be obtained
otherwise, before trial, by the exercise of due diligence; (2) the party
cannot adequately prepare for trial without advance production of the
documents,     and    the    failure    to     obtain    the    documents     may   tend    to
unreasonably delay the trial; and (3) the request for the materials is
made in good faith and not as a general “fishing expedition.”                              See
Nixon, 418 U.S. at 699-700.            A court may quash or modify a subpoena for
the    production     of documents,       if producing          the   documents would be
unreasonable or oppressive, or if the subpoena calls for privileged
matter.      Fed. R. Crim. P. 17(c)(2); Reyes, 239 F.R.D. at 598.


Instruction 8
       Each proposed subpoena includes an identical set of instructions.
Instruction 8 reads, “[u]nless otherwise stated, the ‘relevant time
period’ for subpoenaed document[s] is January 1, 1996 to present.”
(Doc. 142, Ex. 1 at 5, 15, 24.)
       The    government      objects    to     this    proposed       instruction.        The
government argues that the relevant period should run from January 1,
1996, to August 2006, the period covered by the superseding indictment.
(Doc. 149 at 2.)       The defendants argue that there may be relevant and
admissible materials created after August 2006.                       In particular, they
argue that Steven Landmann, a government witness, conducted an analysis
of ESSI’s stock options, and “there are likely documents relating to
that analysis which were created after August 2006.”                      (Doc. 142 at 5.)
       Looking to Hardy and Noriega, the defendants have not reasonably
specified the information believed to be contained in documents created
after August 2006.          The defendants “believe that there are” and state
“there may be” documents created after August 2006, but provide nothing
more precise than such conjecture.               Instruction 8 must be modified to
limit the relevant time period to January 1, 1996, to August 31, 2006.


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See United States v. Ferguson, 3:06 CR 137 CFD, 2008 WL 113663, at *1
n. 1 (D. Conn. Jan. 2, 2008) (enforcing subpoenas only for the period
during which “many of the events alleged in the indictment occurred”);
see also United States v. Salvagno, 267 F. Supp. 2d 249, 253 (N.D.N.Y.
2003) (quashing subpoena that sought documents for a time period far
exceeding the conduct charged by the indictment).


Request 14 to DRS
       In Request 14 to DRS, the defendants seek “[c]opies of any and all
documents referring to or relating to any agreements or arrangements
between the government          and DRS, including but not limited to any
agreement by DRS not to file suit against or take other action against
any former ESSI employee or ESSI Board member.”                 (Doc. 142, Ex. 1 at
20.)
       The government       anticipates      that a representative       of DRS will
testify at trial, but objects to Request 14, arguing that the defendants
already have the information sought.                (Doc. 149 at 4.)    As set forth
above, defendants state they do not want production of documents already
produced.    However, neither party has suggested a reasonable process for
comparing the documentary requests at issue with the large number of
documents    produced      to   the   defendants.       The   defendants   argue    the
documents in Request 14 are relevant to the bias of potential witnesses
and DRS’s status as an alleged victim.              (Doc. 142 at 6.)
       The language of Request 14 seeks impeachment evidence.                      As a
general     rule,   “the    need      for    evidence   to    impeach   witnesses    is
insufficient to require its production in advance of trial under Rule
17(c).”     Hardy, 224 F.3d at 756 (quoting Nixon, 418 U.S. at 701).                The
term "impeachment" also refers to the bias or interest of a witness, the
witness’s ability to observe an event in issue, or a witness’s prior
statement that is inconsistent with his or her current testimony.                Berry
v. Oswalt, 143 F.3d 1127, 1132 (8th Cir. 1998).                    Under Nixon, the
defendants may not use a Rule 17(c) subpoena for this purpose.
       The defendants also argue that Request 14 is relevant because it
speaks to DRS’s status as an alleged victim.                   Relevant evidence is
“evidence having any tendency to make the existence of any fact that is


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of consequence to the determination of the action more probable or less
probable than it would be without the evidence.”           Fed. R. Evid. 401.
In this case, the defendants are charged, among other things, with
conspiracy to commit mail fraud and wire fraud against DRS.            (Doc. 52
at 13.)    The descriptions of documents in Request 14 do not relate to
whether or not the defendants committed fraud against DRS or whether or
not the defendants committed any of the other acts alleged in the
superseding indictment.    The defendants have not shown the documents are
relevant under Nixon.
     The motion for leave to serve Rule 17(c) subpoenas is denied as to
Request 14 to DRS.


Request 15 to DRS, and Request 14 to PwC and Thompson Coburn
     In Request 15 to DRS, and Request 14 to PwC and Thompson Coburn,
the defendants seek “[c]opies of any and all documents referring to or
relating to any suggestion or statement by [DRS / PwC / Thompson Coburn]
to any employee [, partner or member] regarding cooperation with the
government related to this case.”     (Doc. 142, Ex. 1 at 10, 20, 29.)
     The defendants argue the government is compelled to produce this
material under Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v.
United States, 405 U.S. 150 (1972), and that the documents are relevant
and admissible for the purposes of Rule 17(c).           (Doc. 142 at 6.)    The
government has stated that it will comply with its obligations under
Brady, Giglio, and the Jenks Act, 18 U.S.C. § 3500.               Further, the
government objects to this proposed request, arguing that any statements
between witnesses and their employers, not already covered by Brady or
Giglio, are not discoverable.       The government also argues that the
request is a purely speculative discovery request.          (Doc. 149 at 4-5.)
     In this instance, the documents requested would be inadmissible
hearsay.     Hearsay is any “statement, other than one made by the
declarant while testifying at the trial or hearing, offered in evidence
to prove the truth of the matter asserted.”       Fed. R. Evid. 801(c).        In
Reyes, the defendant subpoenaed “summaries, notes and memoranda related
to the interviews of [company] employees.”        Reyes, 239 F.R.D. at 600.
The court found these documents included only hearsay.         Id.   And to the


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extent the defendant wanted evidence of what a law firm told the
government about these interviews, “the materials would be hearsay-upon-
hearsay.”    Id.   The defendants are seeking documents related to out-of-
court    statements   made by a company        or law     firm   to its employees
concerning    their   cooperation      or   potential     cooperation      with   the
government.        These   documents    constitute      hearsay    and     fail   the
admissibility requirement of Nixon.
        The motion for leave to serve Rule 17(c) subpoenas is denied as to
Request 15 to DRS, and Request 14 to PwC and Thompson Coburn.


Request 17 to DRS, and Requests 16 and 17 to PwC and Thompson Coburn
        In Request 16 to PwC and Thompson Coburn, the defendants seek
“[c]opies    of any and all documents          relating    to [or referring to]
communications with any of the following relating to this case or ESSI:
the United States Attorneys’ Office, the SEC, the Department of Justice,
the U.S. Postal Inspection Service, or the FBI.”             (Doc. 142, Ex. 1 at
10, 29.)    In Request 17 to DRS, the defendants seek “[c]opies of any and
all documents relating to or referring to requests for documents from
DRS by the United States Attorneys’ Office, the SEC, the Department of
Justice, the U.S. Postal Inspection Service, or the FBI.”                (Id. at 20.)
In Request 17 to PwC and Thompson Coburn, the defendants seek “[c]opies
of any and all documents relating or referring to communications with
any of the following relating to this case or ESSI: DRS or agents,
employees or attorneys of DRS.”        ( Id. at 10, 29.)
        The defendants argue these documents are admissible, relevant, and
may indicate the bias of a potential witness.             (Doc. 142 at 6-7.)      The
government objects to these requests, arguing the defendants already
have the underlying records.      The government also argues the defendants
fail to state the relevancy or admissibility of any such communications.
Instead, the government argues defendants’ requests represent a general
type of fishing expedition.      (Doc. 149 at 6-7.)
        For each of these requests, the defendants do not specify what
these documents say or show, or why they need them, other than to say
that “they may indicate potential witness bias.”                  The specificity
requirement of Rule 17(c) is not satisfied if “the defendant does not


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know what the evidence consists of or what it will show.”                 United States
v. Johnson, CR 94-0048 SBA, 2008 WL 62281, at *2 (N.D. Cal. Jan. 4,
2008).     A defendant’s belief that subpoenaed materials may show bias
does not satisfy Nixon’s specificity requirement.                 See United States v.
Weissman, 01 CR 529 BSJ, 2002 WL 31875410, at *1 (S.D.N.Y. Dec. 26,
2002).
        In addition, the defendants have requested “any and all documents
relating to” the subject matter, with “relating to” broadly defined in
the instructions.        See United States v. Louis, 04 CR 203 LTS, 2005 WL
180885, at *5 (S.D.N.Y. Jan. 27, 2005) (quashing Rule 17(c) subpoena
that sought “‘any and all’ documents relating to several categories of
subject    matter    (some   of    them    quite   large),      rather   than   specific
evidentiary items”).         In quashing the subpoena, the Louis court also
noted how the defendant had broadly defined the term “relating to.”
Louis, 2005 WL 180885, at *5 n.8.            In another case, a court noted that
the defendant’s request for “‘all documents relating or referring to’”
could amount to “a massive search for countless documents . . . .”                     RW
Prof’l Leasing Servs. Corp. , 228 F.R.D. at 164.
        Finally,    as   noted    above,   “the    need   for    evidence   to   impeach
witnesses is insufficient to require its production in advance of trial
under Rule 17(c).”        Hardy, 224 F.3d at 756 (quoting Nixon, 418 U.S. at
701).    These requests fail the Nixon test.
        The motion for leave to serve Rule 17(c) subpoenas is denied as to
Request 17 to DRS, and Requests 16 and 17 to PwC and Thompson Coburn.


Requests 19 and 20 to PwC and Thompson Coburn
        In Request 19 to PwC and Thompson Coburn, the defendants seek:
        Copies of any and all documents relating to or referring to
        any PwC policies, practices, guidelines and for any review,
        audit or analysis, examination or reporting concerning stock
        options or stock option issues, including any such documents
        regarding accounting for stock options and reporting of stock
        options in SEC filings, to the extent such documents were
        used in or were applicable to any work PwC performed for
        ESSI.




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In Request 20 to PWC and Thompson Coburn 2, the defendants seek:
        Copies of any [and] all documents relating to or referring
        to any PwC forms or other documents used for reviewing,
        auditing, analyzing or examining stock options or stock
        option issues, or accounting of stock options or reporting
        of stock options, to the extent such documents were used in
        or were applicable to any work PwC performed for ESSI.

(Doc. 142, Ex. 1 at 11.)
        In this case, only the language “or were applicable to” is in
dispute.      The defendants argue the language should be included in the
subpoenas because the guidelines that applied to PwC’s work for ESSI are
as important as the documents that PwC actually used for its ESSI work.
(Doc. 142 at 7-8.)          The government argues, and the court agrees, the
language should not be included in the subpoenas because any potential
witnesses would not have personal knowledge of the documents, thereby
violating the witness personal knowledge requirement of Federal Rule of
Evidence 602.       (Doc. 149 at 7-8.)
        Even without the disputed language, the scope of the requests is
vast.       See Reyes, 239 F.R.D. at 605-06.       In Reyes, the defendant was
seeking all documents relating to the policies for option grants of a
large accounting firm, over a five-year period.              Id. at 605.   The court
found       the   request    “enormous   in   scope,”   and     indicative     of   a
“quintessential fishing expedition.”          Id. at 605-06.      In this case, the
defendants are seeking similar documents from a large law firm and a
large accounting firm, over a ten-year period.           Including the “or were
applicable to” language would only serve to expand an already vast
request.      Where a defendant requests “any and all information related
to a particular policy or procedure, courts have rejected such requests
as an abuse of Rule 17(c).”         Id. at 606.    Looking to Reyes and Nixon,
the “or were applicable to” language must be deleted from subpoena
Requests 19 and 20 to PwC and Thompson Coburn.



        2
      In their memoranda the parties refer to Request 20 to Thompson
Coburn. (Doc. 142 at 2, 7; Doc. 149 at 7.) However, the copy of the
subpoena provided to the court includes 19 requests to Thompson Coburn.
(Doc. 142, Ex. 1 at 30.)      The court assumes that the Request 20
indicated for PwC is intended for Thompson Coburn.

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Remaining Instructions and Remaining Requests
      The government does not object to any of the remaining instructions
or remaining requests.           The motion for leave to serve Rule 17(c)
subpoenas is therefore granted as to the remaining requests.


                                    CONCLUSION
      For the reasons stated above,
      IT IS HEREBY ORDERED that the joint motions of defendants for leave
to serve Rule 17(c) subpoenas and for an early return thereof (Docs.
108, 141) are sustained, except as follows:
(a)   Instruction 8 shall be modified to state that the relevant time
      period runs from January 1, 1996, to August 31, 2006.
(b)   The motions are denied as to Requests 14, 15, and 17 to DRS
      Technologies, Inc., and Requests 14, 16, and 17 to Thompson Coburn
      LLP and PricewaterhouseCoopers.
(c)   Requests    19       and     20    to     Thompson   Coburn     LLP     and
      PricewaterhouseCoopers shall omit the language “or were applicable
      to.”




                                           /S/ David D. Noce
                                        UNITED STATES MAGISTRATE JUDGE


Signed on March 3, 2008.




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